%aJS 44 (Rev. 12/07)

The JS 44 civil cover sheet and the information contained herein neither replace nor su
by local rules of court. This form, approved by the Judicial Conference of the United

Case 3:09-cv-01656-MEJ Document 1 Filed 04/15/99

 

CIVIL COVER SHEET

the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM. )

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plement the filing and service of pleadings or other papers as re

uired by law, except as provided
tates in September 1974, is required for the use of the Clerk of

ourt for the purpose of initiating

 

I, (a) PLAINTIFFS
Deborah McCants

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorney’s (Firm Name, Address, and Telephone Number)

Tammy Hussin, WEISBERG & MEYERS, LLC
6455 Pyrus Pl, Carlsbad, CA 92011, 866 775 3666 ext 215

Contra Costa

DEFENDANTS

 
  
 
  

Attorneys (If Known)

County of Residence of First Listed Defendant

Academy Collection Service, Inc.

 

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
7 A FA LAND INVOLVED. ,f?

“filing

 

II. BASIS OF JURISDICTION

O11 U.S. Government

Plaintiff

O2 US. Government
Defendant

   
 

6 110 Insurance

0 120 Marine

130 Miller Act

© 140 Negotiable Instrument

0 150 Recovery of Overpayment
& Enforcement of Judgment

OG 151 Medicare Act

0 152 Recovery of Defaulted
Student Loans
(Excl. Veterans)

0 153 Recovery of Overpayment
of Veteran’s Benefits

0 160 Stockholders’ Suits

1 190 Other Contract

1 195 Contract Product Liability

 
   

0 210 Land Condemnation

1 220 Foreclosure

CO 230 Rent Lease & Ejectment
(J 240 Torts to Land

(7 245 Tort Product Liability
1 290 All Other Real Property

 

QO 00 00 09 0 00

BS 3 Federal Question

(U.S. Government Not a Party)

0 4 Diversity

(Indicate Citizenship of Parties in Item III)

TV. NATURE OF SUIT (Place an “x” in One Box oul

PERSONAL INJURY

310 Airplane

315 Airplane Product
Liability

320 Assault, Libel &
Slander

330 Federal Employers’
Liability

340 Marine

345 Marine Product
Liability

350 Motor Vehicle

355 Motor Vehicle
Product Liability

360 Other Personal

441 Voting

442 Employment

443 Housing/
Accommodations

444 Welfare

445 Amer. w/Disabilities -
Employment

446 Amer. w/Disabilities -
Other

440 Other Civil Rights

(Place an “X” in One Box Only)

 

PERSONAL INJURY

a
a
a

362 Personal Injury -
Med. Malpractice

365 Personal Injury -
Product Liability

368 Asbestos Personal
Injury Product
Liability

PERSONAL PROPERTY

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oa

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370 Other Fraud

371 Truth in Lending

380 Other Personal
Property Damage

385 Property Damage
Product Liability

510 Motions to Vacate
Sentence

Habeas Corpus:

530 General

535 Death Penalty

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

Foreign Country

0 610 Agriculture

0 620 Other Food & Drug

CF 625 Drug Related Seizure
of Property 21 USC 881

0 630 Liquor Laws

0 640 RR. & Truck

0 650 Airline Regs.

O 660 Occupational
Safety/Health

a 690 Other

 
   

a 710 Fair Labor Standards
Act

0 720 Labor/Mgmt. Relations

0 730 Labor/Mgint.Reporting
& Disclosure Act

JO 740 Railway Labor Act

1 790 Other Labor Litigation
1 791 Empl. Ret. Inc.
Security Act

A 502 Naturalization App 1

1 463 Habeas Corpus -
Alien Detainee

OG 465 Other Immigration

Actions

 

 

      
      
    
  
 
   

 

CO) 422 Appeal 28 USC 158
423 Withdrawal
28 USC (57

1) 820 Copyrights
7 830 Patent
0 840 Trademark

q 861 AIA (13950)
O 862 Black Lung (923)
O 863 DIWC/DIWW (405(F
1 864 SSID Title XVI

a 870 Taxes (U.S. Plaint i
or Defendant)

© 871 IRS—Third Party
26 USC 7609

 

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III. CITIZENSHIP OF PRINCIPAL PAR (Place an in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
PTF DEF . PTF DEF
Citizen of This State 01 O 1 Incorporated or Principal Place o4 04
of Business In This State
Citizen of Another State O 2 © 2 Incorporated and Principal Place os 05
of Business In Another State
Citizen or Subject of a O03 O 3. Foreign Nation go6 O86

400 State Reapportionment
410 Antitrust
430 Banks and Banking
450 Commerce
460 Deportation
470 Racketeer Influenced and
Corrupt Organizations
480 Consumer Credit
490 Cable/Sat TV
810 Selective Service
850 Securities/Commodities/
Exchange
5 Customer Challenge
12 USC 3410
89) Other Statutory Actions
891 Agricultural Acts
92 Economic Stabilization Act
893 Environmental Matters
894 Energy Allocation Act
895 Freedom of Information
Act
900Appeal of Fee Detennination
Under Equal Access
to Justice
950 Constitutionality of
State Statutes

 

V. ORIGIN (Place an “X” in One Box Only) fe fr AP eal to District
Ri Original (} 2 Removed from (1 3. Remanded from 4 Reinstatedor O 5 Transferred from 6 Multidistrict O 7 Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment

 

VI. CAUSE OF ACTION

Chg ths & é& Fg Siac under which you are filing (Do not cite jurisdictional statutes unless diversity):

 

Violatio

 

Brief description of cause
ot the Fair Debt Collection Practices Act

 

VII. REQUESTED IN

CHECK IF THIS IS A CLASS ACTION

DEMAND $

CHECK YES only if demanded in complaint:

 

 

 

 

 

COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: MW Yes No
VIII. RELATED CASE(S) . i
IF ANY (See instructions): INGE DOCKET NUMBER
DATE SIGNATU. 9 RD
04/08/2009 \c
FOR OFFICE USE ONLY 4 U
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 

 
